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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

JERMAINE AUTRY,
Plaintiff,

V. Civil No. 3:20cv860(DJN)

UNKNOWN,
Defendant.

MEMORANDUM OPINION
By Memorandum Order entered on November 24, 2020, the Court directed the Clerk to
mail a standardized form for filing a 42 U.S.C. § 1983 complaint to Plaintiff. (ECF No. 2.) The
Court instructed Plaintiff to complete and return the form within fourteen (14) days of the date of
entry thereof if he wished to file a complaint at this time. The Court explained that if Plaintiff
failed to take any action within that time, the Court would dismiss the action without prejudice.
See Fed. R. Civ. P. 41(b).
More than fourteen (14) days have elapsed and Plaintiff has not completed and returned
the § 1983 form. Accordingly, the action will be DISMISSED WITHOUT PREJUDICE.
An appropriate Order shall accompany this Memorandum Opinion.
Let the Clerk file a copy of the Memorandum Opinion electronically and send a copy to
Plaintiff.
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David J. Novak I) =
United States District Judge

Richmond, Virginia
Dated: December 31. 2020
